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The following constitutes the ruling of the court and has the force and effect therein described.




 Signed November 6, 2020                   United States Bankruptcy Judge
______________________________________________________________________




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    AMARILLO DIVISION

     IN RE:                                        §
                                                   §
     MICHAEL STEPHEN GALMOR,                       §       CASE NO. 18-20209-RLJ-7
                                                   §
            Debtor.                                §

                        ORDER ON OBJECTION TO CLAIM NUMBER 2 OF
                              OKLAHOMA TAX COMMISSION

            On this day came on for consideration the objection of Kent Ries, Trustee of the

     referenced bankruptcy estate, to Claim Number 2 of Oklahoma Tax Commission (“OTC”). Claim

     Number 2 was filed by OTC as a priority claim in the amount of $801,077.33 regarding taxes owed

     to a government entity and a general unsecured claim in the amount of $52,575.19. The Court

     finds jurisdiction over the subject matter and has been advised that no party in interest has filed a

     response to the Trustee’s Objection. Further, the Court is of the opinion that the Objection of the

     Trustee is in order and should be allowed. It is therefore




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        ORDERED, ADJUDGED AND DECREED, that the portion of Claim Number 2 of

OTC filed as a priority claim in the amount of $801,077.33 is hereby disallowed as a claim against

this bankruptcy estate; It is further

        ORDERED, ADJUDGED AND DECREED, that the portion of Claim Number 2 of

OTC filed as an unsecured claim in the amount of $52,575.19 is hereby disallowed as a claim

against this bankruptcy estate.

                                         # # # End of Order # # #

Prepared By:

Kent Ries, Attorney at Law
State Bar No. 16914050
2700 S. Western St., Suite 300
Amarillo, Texas 79109
(806) 242-7437
(806) 242-7440 - Fax
COUNSEL FOR TRUSTEE




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